         Case 8:17-cv-02686-GJH Document 14 Filed 08/06/18 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                              GREENBELT DIVISION

JUSTIN K. PETERS,                   )
                                    )
      Plaintiff,                    )
                                    )
v.                                  )              Civil Action No. 8:17-cv-2686-GJH
                                    )
EQUIFAX INFORMATION                 )
SERVICES, LLC., et al.,             )
                                    )
      Defendants.                   )
____________________________________)

MOTION TO DISMISS DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.

       Pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure, the Plaintiff, Justin K.

Peters, and Defendant, Equifax Information Services, LLC (“Equifax”), jointly move this Court

to dismiss this case against Equifax with prejudice with each party bearing its own costs.

Accordingly, the parties request that the Court enter the Proposed Order attached hereto as

Exhibit 1.

Respectfully submitted,

_/s/ Kristi C. Kelly____________                 _/s/ Nathan D. Adler________________
Kristi Cahoon Kelly, Esq. (No. 07244)            Nathan Daniel Adler, Esq. (MD No. 22645)
Kelly & Crandall, PLC                            Neuberger, Quinn, Gielen, Rubin & Gibber, P.A.
3925 Chain Bridge Road, Suite 202                One South Street, 27th Floor
Fairfax, Virginia 22030                          Baltimore, Maryland 21202
(703) 424-7576 - Telephone                       (410) 332-8516 - Telephone
(703) 591-0167 - Facsimile                       (410) 332-8517 - Facsimile
E-mail: kkelly@kellyandcrandall.com              E-Mail: nda@nqg.com
Counsel for Plaintiff                            Counsel for Equifax Information Services, LLC
         Case 8:17-cv-02686-GJH Document 14 Filed 08/06/18 Page 2 of 2



                              CERTIFICATE OF SERVICE

       I hereby certify that on the 6th day of August, 2018, I will electronically file the
foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification
of such filing (NEF) to all counsel of record.



                                           _/s/ Kristi C. Kelly____________
                                           Kristi Cahoon Kelly, Esq. (No. 07244)
                                           Kelly & Crandall, PLC
                                           3925 Chain Bridge Road, Suite 202
                                           Fairfax, Virginia 22030
                                           (703) 424-7576 - Telephone
                                           (703) 591-0167 - Facsimile
                                           E-mail: kkelly@kellyandcrandall.com
                                           Counsel for Plaintiff




                                              2
